
NioholsoN, O. J.,
delivered the opinion of the Court.
This is an action of ejectment, tried at the August Term, 1867, of the Circuit Court of Giles county. There was a verdict and judgment for the plaintiff below. Defendant entered a motion for a new trial, which was continued over by the Court until the next term.
At the December Term, 1867, a different Judge was presiding. The motion for a new trial was taken up, when defendant below offered to introduce the evidence, as well as the charge of the Judge, upon the trial of the cause, which the Court refused to hear, and thereupon overruled the motion for a new trial; to which ruling defendant below excepted, and appealed in error to this Court.
As we find no bill of exceptions, or charge of the Circuit Judge in the record, we are bound to infer that the defendant below offered oral proof as to, the evidence and charge of the Judge on the trial of the cause at the August Term, 1867, to be heard and considered by the Judge presiding at the December Term, 1867, on the motion for a new trial.
There can be no doubt of the correctness of the action of the Judge in refusing to hear such proof. We are' unable to see any remedy for the plaintiff in error.
The continuance of the motion for a new trial, has been the cause of the novel condition in which the cause was found at the next term.
*80There was then presiding a Judge who bad no knowledge of the proceedings on the trial at a. previous term. There was no mode known to the law by which he could obtain the information necessary to enable him to determine whether there was good ground for the motion for a new trial. The presumption was, that the jury and the Judge had discharged their respective duties according to law. Ve cannot see how- else he could'do, but to follow this. presumption, and overrule the motion for a new trial.
The judgment is "affirmed.
